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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO: 0:21-cv-60083

  WARREN DARLOW,

          Plaintiff,

  v.

  CITY OF CORAL SPRINGS, and
  FRANK BABINEC,

          Defendants.
                                     /

        DEFENDANT, CITY OF CORAL SPRINGS’ MOTION TO DISMISS AMENDED
       COMPLAINT WITH PREJUDICE AND SUPPORTING MEMORANDUM OF LAW
          Defendant, CITY OF CORAL SPRINGS (“City”), by and through its undersigned counsel

  and pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, moves for the entry of an

  Order dismissing the Amended Complaint (DE 24), filed by the Plaintiff, WARREN DARLOW,

  with prejudice, and states:

  I.      Introduction

          1.      Plaintiff alleges that he was terminated from his employment as a humane officer

  performing animal control duties at the City. DE 24, ¶¶ 13, 21. Specifically, the City terminated

  Plaintiff after he posted a racist “meme” in a Facebook group. DE 24, ¶ 15. Plaintiff’s meme

  depicted “George Floyd with pink skin.” DE 24, ¶ 15. According to Plaintiff, he was “making a

  satirical comment on the current political climate due to George Floyd’s death.” DE 24, ¶ 16.

  Subsequently, the City received a complaint from an individual who observed the post. DE 24, ¶

  17. The Deputy Chief then told Plaintiff that his employment was terminated and that both the

  Deputy Chief and the City Attorney were “offended by the post.” DE 24, ¶ 21.
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            2.     Plaintiff sued the City and City Manager Babinec under 42 U.S.C. §1983 for

  alleged violations of his right to free speech as guaranteed by the First Amendment to the United

  States Constitution (Counts I and II).

            3.     The Complaint fails to state a claim against the City for a violation of the First

  Amendment because the Complaint fails to demonstrate that the purported violations were caused

  by a long-standing custom on the part of the City of violating an individual’s First Amendment

  rights.

  II.       Memorandum of Law - No Viable First Amendment Claim

            A.     First Amendment Claims, Generally

            A citizen who enters public service “must accept certain limitations on his freedom[s],”

  Garcetti v. Ceballos, 547 U.S. 410, 418, 126 S.Ct. 1951, 1958, 164 L.Ed.2d 689 (2006). Generally,

  a “state employer can not retaliate against a state employee for engaging in speech constitutionally

  protected under the First Amendment.” Stanley v. City of Dalton, 219 F.3d 1280, 1288 (11th Cir.

  2000) (citing Rankin v. McPherson, 483 U.S. 378, 383, 107 S.Ct. 2891, 2896, 97 L.Ed.2d 315

  (1987)). But in determining what speech is protected, “the state has an interest as an employer in

  regulating the speech of its employees and attempts to balance the competing interests of the public

  employee and the state.” Id. (citing Rankin, 483 U.S. at 384, 107 S.Ct. at 2896–97; Pickering v.

  Bd. of Educ., 391 U.S. 563, 568, 88 S.Ct. 1731, 1734–35, 20 L.Ed.2d 811 (1968)).

            In order to properly balance these competing interests, courts engage in a two-step inquiry:

                   First, we consider whether Plaintiff’s speech was made as a citizen
                   and whether it implicated a matter of public concern. If this first
                   threshold requirement is satisfied, we then weigh Plaintiff’s First
                   Amendment interests against the City’s interest in regulating his
                   speech to promote the efficiency of the public services it performs
                   through its employees. The above two issues are questions of law
                   that are decided by the court. The court’s resolution determines
                   whether Plaintiff’s speech is protected by the First Amendment.
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  Moss v. City of Pembroke Pines, 782 F.3d 613, 617–18 (11th Cir. 2015) (citations and quotations

  omitted; emphasis added). For purposes of this motion only and based on the Court’s prior ruling1

  on the Defendants’ motion to dismiss, the City will not re-address either step in this Motion.

             B.     No unconstitutional policy or custom

             Even if Plaintiff can satisfy both steps of the inquiry, the § 1983 claim against the City

  remains fatally defective. The City can only be liable under § 1983 “when execution of [its] policy

  or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be said to

  represent official policy, inflicts the injury...” of which Plaintiff complains. Monell v. Dep’t. of

  Social Services, etc., 436 U.S. 658, 691 (1978); Mercado v. City of Orlando, 407 F.3d 1152 (11th

  Cir. 2005); Sewell v. Town of Lake Hamilton, 117 F.3d 488, 489 (11th Cir. 1997). To establish the

  City’s § 1983 liability based on a “custom,” Plaintiff must allege facts establishing an

  unconstitutional practice so widespread that, “although not authorized by written law or express

  municipal policy,” it is “so permanent and well settled as to constitute a custom or usage with the

  force of law.” Brown v. City of Fort Lauderdale, 923 F. 2d 1474, 1481 (11th Cir. 1991). The

  allegations must reflect a practice so “long-standing and widespread,” that it can be “deemed

  authorized by the policy-making officials because they must have known about it but failed to stop

  it.” Id.

             A failure to prevent an isolated incident, however, cannot be deemed tacit approval.

  “Random or isolated incidents are insufficient to establish a custom or policy.” Depew v. City of

  St. Mary’s, 787 F. 2d 1496, 1499 (11th Cir. 1986); Owaki v. City of Miami, 491 F. Supp. 2d 1140,

  1158 (S.D. Fla. 2007).




  1
    In its Order, the Court indicated it was “hard-pressed to find that a post concerning George Floyd’s death and the
  events that ensued does not touch on a subject of public concern;” that “the facts that bear on the Pickering balancing
  inquiry are sparse,” and that “it was advisable to defer the Pickering inquiry to the summary judgment phase of the
  proceedings.” DE 22, pp. 7-8.
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         In its prior Order, the Court granted the City’s motion to dismiss on this basis and stated:

                 Here, to support municipal liability, Plaintiff alleges that the City
                 “has a custom and policy that permitted and directed the termination
                 of Plaintiff.” Compl. ¶ 35. Plaintiff also avers that “Defendant City
                 Manager is the final decision maker and has full authority to make
                 policy and procedure and take final acts on employment decision[s],
                 including firing and hiring, as he did here,” and that the City
                 “through his final decision maker, directly, and under the color of
                 law, not only directed, approved, ratified, but ordered the unlawful
                 and deliberate termination of Plaintiff.” Id. ¶¶ 35-36. These
                 allegations are wholly conclusory and therefore insufficient to
                 withstand dismissal of Count II against the City. See McCants v.
                 City of Mobile, 752 F. App’x 744, 748 (11th Cir. 2018) (affirming
                 dismissal of claims against city because plaintiffs “fail to support
                 their municipal liability claims with anything other than ‘a formulaic
                 recitation of the elements of the cause of action.’”) (quoting Iqbal,
                 556 U.S. at 678); AHE Realty Assoc., LLC v. Miami-Dade Cty., Fla.,
                 320 F. Supp. 3d 1322, 1339 (S.D. Fla. 2018) (dismissing § 1983
                 claim against county where Plaintiff merely made conclusory
                 allegations that public official was a final decision maker and did
                 not cite any state or local statute or ordinance supporting that
                 allegation); Coakley v. City of Hollywood, No. 19-62328, 2021 WL
                 2018914, at *3 (S.D. Fla. Jan. 15, 2021), report and recommendation
                 adopted, No. 19-62328, 2021 WL 2012360 (S.D. Fla. May 20, 2021)
                 (finding Plaintiff’s allegations insufficient to satisfy Monell in light
                 of the Iqbal/Twombly pleading requirements because the complaint
                 “fails to identify any formal policy or to include any nonconclusory
                 allegations regarding any unofficial policy or custom that may be at
                 issue.”).

  DE 22, pp. 9-10.

         Plaintiff made zero changes to those defective allegations. No new facts were added related

  to the City’s purported custom and policy. The allegations remain entirely “conclusory.” DE 22,

  p. 10. The Complaint should be dismissed, with prejudice.

         WHEREFORE, Defendants, CITY OF CORAL SPRINGS, respectfully requests the entry

  of an Order dismissing Plaintiff’s Complaint, with prejudice, and for such other relief as the Court

  deems just.
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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 24th day of August 2021, I electronically filed the
  foregoing document with the Clerk of Court by using the CM/ECF system or by email to all parties.
  I further certify that I either mailed the foregoing document and the Notice of Electronic Filing by
  first class mail to any non-CM/ECF participants and/or the foregoing document was served via
  transmission of Notice of Electronic Filing generated by CM/ECF to any and all active CM/ECF
  participants.


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